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16     EMPYREAL ENTERPRISES dba                  Case No. 5:22-cv-00094-JWH-SHK
       EMPYREAL LOGISTICS,
17                                               FEDERAL DEFENDANTS’
                  Plaintiff,                     OPPOSITION TO PLAINTIFF’S
18
                                                 RENEWED APPLICATION FOR
19                       v.                      TEMPORARY RESTRAINING
                                                 ORDER; MEMORANDUM IN
20     UNITED STATES OF AMERICA, et              SUPPORT; AND REQUEST FOR
21     al.,                                      JUDICIAL NOTICE
22                Defendants.
                                                 No Hearing Set
23
24
                                                 Honorable John W. Holcomb
25                                               United States District Judge
26
27
28
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1                      OPPOSITION AND MEMORANDUM IN SUPPORT
2      I.    INTRODUCTION
3            Defendants United States of America, the U.S. Department of Justice (“DOJ”),
4      Attorney General Merrick Garland, the Federal Bureau of Investigation (“FBI”),
5      Christopher A. Wray, Kristi Koons Johnson, the Drug Enforcement Administration, and
6      Anne Milgram (hereinafter “Federal Defendants”), by and through undersigned counsel,
7      hereby oppose Plaintiff Empyreal Enterprises, LLC, d/b/a Empyreal Logistics
8      (“Plaintiff”) Renewed Ex Parte Application for Temporary Restraining Order (“TRO”).
9      Plaintiff cannot meet the standard for the injunctive relief that it seeks and accordingly,
10     Federal Defendants respectfully request that the motion be denied. The following
11     Memorandum, along with Declaration of FBI Special Agent David Ricker (“Ricker
12     Decl.”), and other materials attached thereto are submitted in support of Federal
13     Defendants’ opposition.
14     II.   RELEVANT FACTS
15           San Bernardino Sheriff’s Department (“SBSD”) conducted a traffic stop of the
16     Plaintiff on November 16, 2021. Ricker Decl. ¶ 3. During the traffic stop, Plaintiff’s
17     driver and two supervisors provided conflicting statements regarding the nature and
18     purpose of the U.S. currency being transported out of state. Id. ¶ 4. Probable cause was
19     thus developed to believe that the currency in Plaintiff’s vehicle represented proceeds of
20     21 U.S.C. § 841(a)(1), which prohibits the knowing or intentional manufacture,
21     distribution, dispensing, or possession with intent to manufacture, distribute, or dispense
22     a controlled substance. Id. As a result of the stop, SBSD seized $712,176.36 and a FBI
23     case was opened. Id. ¶¶ 3-5.
24           The FBI initiated administrative forfeiture of the $712,176.36 and provided the
25     FBI asset identification number of 22-FBI-000784. Id. ¶ 5. On January 11, 2022, the FBI
26     sent letters to Plaintiff’s counsel by certified mail providing notice of the government’s
27     seizure of and intent to forfeit the currency, along with information on the applicable
28     procedures to contest the forfeiture. Id. ¶ 6, Ex. 1. Plaintiff’s counsel admitted to
                                                     1
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1      receiving the notice on January 18, 2022. Dkt. 36-3 (Declaration of David C. Bass
2      (“Bass Decl.”)) ¶¶ 5-6, Ex. A. The letters state a deadline of February 15, 2022 to file a
3      claim to contest the forfeiture in the administrative proceedings. Ricker Decl. ¶ 6.
4             SBSD conducted a second traffic stop of the Plaintiff on December 9, 2021. Id. ¶¶
5      8-9. During the traffic stop, investigators learned that the driver had a document in his
6      possession instructing him what to do if he was stopped by law enforcement, particularly
7      to “NEVER SAY the words CANNABIS, or MARIJUANA” and “NEVER SAY the
8      NAMES OF THE BANKS OR CLIENTS WE SERVICE.” Id. ¶ 8 (emphasis in
9      original). Probable cause was thus developed to believe that the currency in Plaintiff’s
10     vehicle was being laundered in violation of 18 U.S.C. § 1956, which prohibits the
11     laundering of monetary instruments. Id. As a result of the stop, SBSD seized
12     $351,353.88 and a FBI case was opened. Id. ¶¶ 7-9. The FBI is in the process of
13     initiating administrative forfeitures for the funds seized as a result of the December 9,
14     2021 traffic stop. Id. ¶ 9.
15            Plaintiff admits that no proceeds were seized by Federal Defendants as a result of
16     a traffic stop conducted by SBSD on January 6, 2022. Dkt. 36-1 (Declaration of Deirdra
17     O’Gorman (“O’Gorman Decl.”)) ¶¶ 44-47.
18     III.   PROCEDURAL BACKGROUND
19            On January 14, 2022, Plaintiff filed its Complaint against Federal Defendants and
20     Shannon Dicus, San Bernardino County Sheriff-Coroner. Dkt. No. 1. Plaintiff filed an
21     Ex Parte Application for TRO that same day, requesting injunctive relief against Federal
22     Defendants relating to the subject seizures. Dkt. No 18. Federal Defendants filed their
23     Opposition to the Plaintiff’s TRO on January 15. Dkt. No. 31. On January 18, 2022, the
24     Court denied Plaintiff’s TRO without prejudice for failure to comply with Rule 65’s
25     notice requirement. Dkt. No. 32. On January 19, 2022, after consideration of the parties’
26     Stipulation and Joint Request for Briefing Schedule, the Court ordered Plaintiff to file its
27     renewed application for TRO that day, and Defendants to file their opposition on January
28     25, 2022. Dkt. No. 36.
                                                    2
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1      IV.   LEGAL STANDARD
2            The standard for issuing a temporary restraining order is “substantially identical”
3      to that for issuing a preliminary injunction. Stuhlbarg Int’l Sales Co., Inc. v. John D.
4      Brush & Co., 240 F.3d 832, 839 n.7 (9th Cir. 2001). A temporary restraining order, as a
5      form of preliminary injunctive relief, “is an extraordinary remedy that may only be
6      awarded upon a clear showing that the plaintiff is entitled to such relief.” Winter v.
7      Natural Res. Def. Council, Inc., 555 U.S. 7, 22 (2008); Munaf v. Geren, 553 U.S. 674,
8      689-90 (2008) (“A preliminary injunction is an extraordinary and drastic remedy[.]”);
9      see also Reno Air Racing Ass’n., Inc. v. McCord, 452 F.3d 1126, 1131 (9th Cir. 2006)
10     (noting that “courts have recognized very few circumstances justifying the issuance of an
11     ex parte TRO.”).
12           The purpose of a TRO is to preserve the status quo and prevent irreparable harm
13     just so long as is necessary to hold a hearing, and no longer. See Granny Goose Foods,
14     Inc. v. Bhd. of Teamsters & Auto Truck Drivers Loc. No. 70 of Alameda Cty., 415 U.S.
15     423, 439 (1974). Here, Plaintiff is not seeking to simply preserve the status quo but is
16     asking the Court, via ex parte application, to decide the allegations in the Complaint and
17     to enjoin any future federal investigations into Plaintiff’s conduct. Such relief is
18     especially disfavored. See Anderson v. United States, 612 F.2d 1112, 1114 (9th Cir.
19     1979) (“[m]andatory preliminary relief, which goes well beyond simply maintaining the
20     status quo Pendente lite, is particularly disfavored, and should not be issued unless the
21     facts and law clearly favor the moving party.”); see also Edmo v. Corizon, Inc., 935 F.3d
22     757, 784 n. 13 (9th Cir. 2019) (mandatory preliminary injunctions should not be issued
23     in doubtful cases).
24           To obtain a preliminary injunction, the moving party must demonstrate (1) that it
25     is likely to succeed on the merits of its claims; (2) that it is likely to suffer an irreparable
26     injury in the absence of injunctive relief; (3) that the balance of equities tips in its favor;
27     and (4) that the proposed injunction is in the public interest. Winter, 555 U.S. at 20; see
28     also Am. Trucking Ass’ns, Inc. v. City of Los Angeles, 559 F.3d 1046, 1052 (9th Cir.
                                                      3
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1    2009) (citing Winter). The movant seeking the preliminary injunction bears the burden of
2    persuasion. See Hill v. McDonough, 547 U.S. 573, 584 (2006); see also Mazurek v.
3    Armstrong, 520 U.S. 968 (1997) (preliminary injunction not granted unless the movant,
4    by a clear showing, carries the burden of persuasion). Plaintiff has failed to meet its
5    burden of proof and satisfy any of these factors, and therefore its requested relief within
6    the instant motion should be denied.
7    V.    ARGUMENT
8          A.     Plaintiff Is Not Likely To Succeed On The Merits
9                 1.     Plaintiff Has An Adequate Remedy At Law By Virtue Of The
10                       Commencement Of The Administrative Forfeiture Proceedings.
11         Plaintiff’s TRO application is similar to a Fed. R. Crim. P. 41 motion or complaint
12   which asks a court to exercise its equitable power to return seized property.1 Rule 41
13   motions are generally denied when forfeiture proceedings (administrative or judicial)
14   have been commenced, as those proceedings provide an adequate remedy at law. The
15   same is true here. Civil forfeiture proceedings provide Plaintiff a means of challenging
16   the seizure and recovering seized property. United States v. U.S. Currency $83,310.78,
17   851 F.2d 1231, 1235 (9th Cir. 1988) (upholding dismissal of Rule 41 motion filed before
18   civil forfeiture proceedings were commenced, reasoning that equitable remedy not
19   needed where civil forfeiture proceeding would allow claimant to challenge Fourth
20   Amendment violation).
21         Plaintiff admits in its renewed application for TRO, that on January 11, 2022, the
22   FBI sent to Plaintiff notice of initiation of administrative forfeiture proceedings
23   concerning $712,176.36 in U.S. currency seized on November 16, 2021 in Barstow,
24
           1
             Courts have recognized that where there are no criminal proceedings pending
25   against the movant, motions to return property pursuant to Fed. R. Crim. P. 41(g) are
     treated as civil equitable proceedings, governed by the Federal Rules of Civil
26   Procedure. See Cannon v. United States of Am., 2021 WL 4706707, at *2 (C.D. Cal.
     Aug. 2, 2021); United States v. Sperow, 2018 WL 6174706, at *2 (C.D. Cal. Oct. 18,
27   2018) (“[Motions for return of property under Rule 41(g)] are treated as civil equitable
     proceedings, governed by the Federal Rules of Civil Procedure, even if they are styled as
28   being pursuant to Rule 41.”).
                                                  4
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1    California. Bass Decl. ¶¶ 5-6, Ex. A; Ex. 1. Pursuant to 18 U.S.C. § 983(a)(2)(B) and the
2    terms of the notice, the date by which Plaintiff must file a claim in the administrative
3    forfeiture proceeding is February 15, 2022. Ex. A; Ex. 1. Once a claim is submitted, the
4    FBI must, by statute, terminate its administrative forfeiture proceedings against the
5    seized currency and refer the matter to the United States Attorney’s Office which in turn
6    must, within ninety days after the FBI received the claim, either (i) file a judicial
7    forfeiture action seeking forfeiture; (ii) obtain an indictment containing an allegation that
8    the seized currency is subject to forfeiture; or (iii) promptly release the seized currency.
9    See 18 U.S.C. § 983(a)(3)(A). This is the process that Plaintiff should be invoking.2
10         Given that Plaintiff has until February 15, 2022 to submit its claim, and the
11   government has ninety days from the date of receipt of that claim to initiate forfeiture
12   proceedings, the government’s deadline to file a judicial forfeiture action has not yet
13   expired and requesting that the Court issue an order compelling action on the part of the
14   government before that undetermined date is improper.
15         In United States v. Elias, 921 F.2d 870 (9th Cir. 1990), the Ninth Circuit held that
16   administrative (as well as judicial) forfeiture proceedings provide an adequate remedy at
17   law, precluding a district court’s equitable jurisdiction to hear a motion for return for
18   property brought under Rule 41(g) where there is no pending criminal matter. (Because
19   Rule 41(g) movants have no other available forum in which to address their grievance,
20   such motions, like this application for a TRO, are treated as equitable civil actions.
21   United States v. Martinson, 809 F.2d 1364, 1367 (9th Cir. 1987).) In Elias, the
22
           2
              Plaintiff is already familiar with this process because it is employing the judicial
23   process in Kansas. Plaintiff is actively engaged in litigation seeking the return of the
     monies collected from marijuana dispensaries in Kansas City and bound for a Colorado
24   credit union in the pending civil forfeiture action. See United States of America v.
     $165,620.00 in United States Currency, 6:2021-cv-01215-HLT-KGG (D. Kansas,
25   complaint filed 9/3/2021) (Dkt. 1); Request for Judicial Notice filed concurrently, Ex. 2.
     The Kansas district court issued a warrant in rem and ruled that there was probable cause
26   to seize the money. Id., Dkt. 3; Request for Judicial Notice, Ex. 3. The Court can take
     judicial notice of these filings. See also https://www.usnews.com/news/best-
27   states/kansas/articles/2021-10-27/company-challenges-seizure-of-marijuana-proceeds-
     in-kansas. Thus, seeking relief in this Court is duplicative and amounts to forum
28   shopping, which is not proper.
                                                     5
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1    government seized $14,830 and an automobile and “initiated administrative forfeiture
2    proceedings pursuant to statute after notice to Elias.” 921 F.2d at 872. The Ninth Circuit
3    ruled that “Elias had a remedy at law pursuant to the administrative forfeiture scheme set
4    forth in 19 U.S.C. § 1608.” Id. Accordingly, the court affirmed the dismissal of the Rule
5    41(g) motion for return of property.
6          That no judicial forfeiture proceedings have been instituted at the time of the filing
7    of the motion provides no justification for a Rule 41(g) motion. In Elias, the Ninth
8    Circuit rejected the argument that only judicial proceedings precluded relief, explaining
9    that administrative forfeiture proceedings “provided Elias with the procedural tools to
10   seek judicial review of the lawfulness of the seizure of his property” and that “both
11   procedures give the claimant an adequate remedy at law.” 921 F.2d at 873. Accordingly,
12   Plaintiff can and should raise its arguments in the forfeiture proceedings.
13         Several other Courts have reached the same result with respect to administrative
14   forfeiture proceedings. See, e.g., United States v. Clagett, 3 F.3d 1355, 1356 n.1 (9th Cir.
15   1993) (“[I]f notice was adequate, the [administrative] forfeiture proceeding provided an
16   adequate remedy and Clagett will not be entitled to equitable relief”); Ibarra v. United
17   States, 120 F.3d 472, 475 76 (4th Cir. 1997) (“[O]nce the Government initiates
18   [administrative] forfeiture proceedings, the district court is divested of jurisdiction” to
19   entertain a Rule 41(g) motion). Likewise, courts have reached the same result with
20   respect to judicial forfeiture proceedings. See, e.g., In Re Return of Seized Property
21   (Jordan), 625 F. Supp. 2d 949, 955 (C.D. Cal. 2009) (a Rule 41(g) motion is properly
22   denied once a civil forfeiture action has been filed) (citation omitted); In re The Seizure
23   of All Funds...National Electronics, Inc., 2005 WL 2174052, *2 (S.D.N.Y. 2005)
24   (Government’s commencement of a civil judicial forfeiture the day after claimant filed a
25   Rule 41(g) motion deprived the district court of subject matter jurisdiction over the Rule
26   41(g) motion).
27         Plaintiff cannot use its request for a TRO to shorten the 90-day deadline for the
28   initiation of judicial forfeiture proceedings or to force the government to return property
                                                   6
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1    before it has decided whether to initiate judicial forfeiture proceedings. In United States
2    v. Premises of 2nd Amendment Guns, LLC, 917 F. Supp. 2d 1120, 1122 (D. Or. 2012), the
3    court stated that “the cases cited by the government clearly indicate that a properly and
4    timely initiated administrative forfeiture proceeding precludes a Rule 41(g) motion.” The
5    court held that once the government commenced an administrative forfeiture proceeding,
6    the claimant had an adequate remedy at law for both his Fourth Amendment objections
7    and defenses on the merits. Id. The court found that if the claimant had an immediate
8    need for the property, he could have filed a hardship petition pursuant to 18 U.S.C. §
9    983(f). Id. It made no difference, the court held, that the government had yet to
10   commence judicial forfeiture, as Congress had given the government 90 days to decide
11   how to proceed. Id.
12                Here, as administrative forfeiture proceedings have been initiated and the
13   seized currency has not been forfeited, Plaintiff has an adequate remedy at law. The
14   pendency of administrative forfeiture proceedings divests this Court from hearing this
15   request for equitable relief because Plaintiff has an adequate remedy at law available to
16   contest the forfeiture. Plaintiff’s TRO application should be denied on this basis alone
17                2.     Plaintiff Has Failed To Satisfy Its Burden Of Proof Under The
18                       Appropriations Rider.
19         Plaintiff claims that Federal Defendants are precluded from seizing Plaintiff’s
20   proceeds which were obtained as a result of the November 16 and December 9 stops due
21   to the appropriations rider and the Ninth Circuit’s holding in United States v. McIntosh,
22   833 F.3d 1163 (9th Cir. 2016). Plaintiff’s allegations that Federal Defendants cannot take
23   any action against it because it purportedly works with state-legal cannabis businesses is
24   overbroad and unsupported by law. Furthermore, Plaintiff has critically failed to meet its
25   burden of proving that it is in strict compliance with California medical marijuana laws
26   and is therefore not entitled to injunctive relief under McIntosh. For that reason, the
27   application should be denied.
28         Congress enacted the Appropriations Act of 2015, which prohibited the DOJ from
                                                  7
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1    using congressionally allocated funding to prevent states from implementing their
2    medical marijuana laws. See Consolidated and Further Continuing Appropriations Act
3    Of 2015, Pub. L. No. 113–235, § 538, 128 Stat. 2130, 2217 (2014). The relevant section
4    of the appropriations rider reads:
5            None of the funds made available in this Act to the Department of Justice
             may be used, with respect to…California…to prevent such States from
6
             implementing their own State laws that authorize the use, distribution,
7            possession, or cultivation of medical marijuana.3
8
             Plaintiff argues that the Ninth Circuit in McIntosh recognized the “absolute effect
9
     of [the] appropriation rider’s command.” Plaintiff glosses over McIntosh’s clear holding
10
     that the appropriations rider only prohibits the DOJ from utilizing funds to prosecute
11
     individuals who are in strict compliance with state’s applicable state medical marijuana
12
     laws:
13
             DOJ does not prevent the implementation of rules authorizing conduct
14           when it prosecutes individuals who engage in conduct unauthorized under
             state medical marijuana laws. Individuals who do not strictly comply with
15
             all state-law conditions regarding the use, distribution, possession, and
16           cultivation of medical marijuana have engaged in conduct that is
             unauthorized, and prosecuting such individuals does not violate [the
17
             appropriations rider]. Congress could easily have drafted [the appropriations
18           rider] to prohibit interference with laws that address medical marijuana or
19           those that regulate medical marijuana, but it did not. Instead, it chose to
             proscribe preventing states from implementing laws that authorize the use,
20           distribution, possession, and cultivation of medical marijuana.
21
     McIntosh at 1178. The Court remanded the matter back to district court to conduct
22
     evidentiary hearings to determine whether the appellants’ operations strictly complied
23
     with their respective state’s medical marijuana laws. Id. at 1179; see also U.S. v. Lynch,
24
             3
              A nearly identical rider has been extended in every subsequent appropriations
25   bill. See United States v. Kleinman, 880 F.3d 1020, 1027 (9th Cir. 2017) (describing the
     appropriations rider’s legislative history). This includes the section referenced in
26   Plaintiff’s TRO, Consolidated Appropriations Act 2021, Pub. L. No. 116-260, § 531,
     134 Stat. 1283 (2020) (amended Dec. 3, 2021). The section numbers of the rider in the
27   Appropriations Act prohibiting DOJ action have changed over the years. For the sake of
     simplicity and clarity, this memorandum will refer to this provision as the
28   “appropriations rider”.
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1    903 F.3d 1061, 1086 (9th Cir. 2018) (the appropriations rider has a limited effect and
2    will only apply if the individual has been strictly compliant with state medical marijuana
3    law).
4            The Ninth Circuit has consistently held that to succeed on a motion to enjoin use
5    of DOJ funds on a particular prosecution, the party invoking the appropriations rider
6    bears the burden of proving by a preponderance of the evidence that it has strictly
7    complied with state medical marijuana laws. See U.S. v. Pisarski, 965 F.3d 738, 742 (9th
8    Cir. 2020) (“no dispute” that criminal defendants bore the burden of proof to show that
9    they had strictly complied with the California medical marijuana laws by a
10   preponderance of the evidence); U.S. v. Evans, 929 F.3d 1073, 1076-77 (9th Cir. 2019)
11   (the burden of proving strict compliance with Washington’s medical marijuana laws fell
12   on the party seeking to enjoin DOJ’s prosecution); U.S. v. Gentile, 782 Fed. Appx. 559,
13   561-62 (9th Cir. 2019) (seeking to enforce the appropriations rider is a request for
14   injunctive relief, and the party seeking the injunction bears the burden of proving strict
15   compliance by a preponderance of the evidence); see also U.S. v. Dashiell, 2016 WL
16   11625686, *5-6 (C.D. Cal. Dec. 21, 2016) (criminal defendant failed to provide any
17   evidence demonstrating that his conduct was authorized by California medical marijuana
18   laws, and thus did not meet his burden of showing strict compliance); U.S. v. Daleman,
19   2017 WL 1256743, at *3 n.5 (E.D. Cal. Feb. 17, 2017) (“Congress could have, but did
20   not, explicitly place the burden on the government in demonstrating non-compliance
21   when it enacted the appropriations riders.”).
22           Plaintiff in this action has failed to put forth any showing that comes close to
23   meeting this burden. Plaintiff simply asserts that the proceeds seized by Federal
24   Defendants were “entirely from state licensed cannabis businesses in good standing,
25   operating lawfully under California law[.]” O’Gorman Decl. ¶¶ 30, 33. Even if
26   Plaintiff’s claims of prohibited use of appropriated funds were accurate, and Federal
27   Defendants assert they are not, Plaintiff’s claims are belied by Plaintiff’s own admission
28   in the next paragraph that not all monies carried in its vehicles were from exclusively
                                                     9
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1    medical marijuana dispensaries. See O’Gorman Dec. ¶ 31 (“Three of the four cannabis
2    businesses whose cash proceeds were seized during the November 16 seizure hold
3    California medical cannabis licenses.”); ¶ 15 ("A significant percentage of Empyreal’s
4    cash-in-transit business does not involve the cannabis industry. These clients include
5    restaurants, convenience stores, and other cash-intensive businesses.”); ¶ 13 (“Most of
6    Empyreal’s cannabis-industry clients hold medical cannabis licenses.”) (emphasis
7    added). Not only do these averments clearly fall short of proving strict compliance with
8    state medical marijuana laws by a preponderance of the evidence, Plaintiff does not even
9    provide the names or license numbers of the businesses with which it works; rather, it is
10   simply asking Federal Defendants and the Court to take it at its word. These summary
11   self-assertions of compliance with California medical marijuana laws are entirely
12   insufficient under McIntosh. See U.S. v. Dashiell, 2016 WL 11625686 (C.D. Cal. Dec.
13   21, 2016).
14         For the above reasons, Plaintiff has not shown a likelihood of success on the
15   merits of its request to enjoin Federal Defendants from using DOJ funds in its
16   prosecution of the Plaintiff.
17                3.     The Appropriations Rider Does Not Entitle Plaintiff To Injunctive
18                       Relief For Future Investigations.
19         Plaintiff also requested injunctive relief against Federal Defendants enjoining
20   them from stopping, searching, and detaining the Plaintiff, as well as seizing its property
21   or possessions. This amounts to a request to preclude any future investigation of its
22   business and activities. First, this request is beyond the relief available within the
23   appropriations rider. In applying McIntosh, the Ninth Circuit held that the rider “only
24   prohibits the expenditure of DOJ funds in connection with a specific charge involving
25   conduct that is fully compliant with state laws regarding medical marijuana.” U.S. v.
26   Kleinman, 880 F.3d 1020, 1028 (9th Cir. 2017) (emphasis in original). This requires a
27   “count by count analysis” to determine which charges, if any, are impacted. Id. The
28   protections of the appropriations rider only apply when the movant can prove strict
                                                   10
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1    compliance with state medical marijuana laws in relation to specific charges that have
2    been filed. It logically follows that the DOJ is not prohibited from using its funds to
3    investigate activities for which the subject of the investigation has not yet been charged.
4    Plaintiff is asking the Court to unprecedently expand the protections of the
5    appropriations rider, with no support to invoke such relief.
6          Second, without the appropriations rider providing a remedy, Plaintiff seeks in
7    effect to enjoin an investigation. In so doing, it “bears an almost insurmountable
8    burden.” Olagues v. Russoniello, 770 F.2d 791, 800 (9th Cir. 1985) (quoting LaRouche
9    v. Webster, 566 F. Supp. 415, 417 (S.D.N.Y. 1983)). That is because investigatory
10   decisions are committed to the Executive Branch and intruding upon that Executive
11   Branch function risks violating the separation of powers. Id. at 799; see also U.S. v.
12   Nixon, 418 U.S. 683, 693 (1974) (“[T]he Executive Branch has exclusive authority and
13   absolute discretion to decide whether to prosecute a case[.]”); U.S. v. Derrick, 163 F.3d
14   799, 824-25 (4th Cir. 1998) (“The caselaw is legend from the Supreme Court and the
15   courts of appeals that the investigatory and prosecutorial function rests exclusively with
16   the Executive.”); U.S. v. Olson, 504 F.2d 1222, 1225 (9th Cir. 1974) (separation of
17   powers commands “that the courts are not to interfere with the free exercise of the
18   discretionary powers of the attorneys of the United States in their control over criminal
19   prosecutions.”). Hence, “only in extraordinary circumstances” may courts “entertain an
20   action to enjoin a prosecutor’s investigatory activities.” Olagues, 770 F.2d at 799.
21   Plaintiff must show “egregiously illegal conduct” supported by a “clear basis in fact and
22   law” supporting the extraordinary remedy it seeks. Id. at 799-800 (citations omitted).
23   Plaintiff cannot meet that burden here. Courts do not function as a “‘super prosecutor’
24   empowered to monitor all prosecutorial activities on a day-to-day basis, absent
25   compelling, extraordinary circumstances.” Id. at 803.
26         Plaintiff fails to establish any circumstances so extraordinary as to permit judicial
27   interference with the government’s investigation of its activities. Therefore, its request to
28
                                                  11
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1    enjoin Federal Defendants from stopping, searching, and detaining the Plaintiff, as well
2    as seizing Plaintiff’s property or possessions, should be denied.
3                 4.      Federal Defendants’ Alleged Participation In Equitable Sharing Does
4                         Not Violate Due Process.
5          Plaintiff speculatively and without support argues that the stops and seizures were
6    politically motivated for financial gain due to the equitable sharing program.4 The
7    legality of asset forfeiture, the underlying conduct of which Plaintiff attacks, has long
8    been upheld. See Bennis v. Michigan, 516 U.S. 442, 452-53 (1996) (forfeiture is not a
9    “taking” within meaning of the Fifth Amendment); McCutchen v. United States, 145
10   Fed. Cl. 42, 51 (Fed. Cl. 2019) (“[T]here are certain exercises of the police power that
11   have repeatedly been treated as legitimate even in the absence of compensation to the
12   owners of the property. Among these are government actions taken… to require the
13   forfeiture of property used in connection with criminal activity.”) (internal citations
14   omitted); U.S. v. Segal, 432 F.3d 767, 779 (7th Cir. 2005) (criminal forfeiture is not a
15   “taking” under Takings Clause); U.S. v. $7,999.00 in U.S. Currency, 170 F.3d 843, 845
16   (8th Cir. 1999) (civil forfeiture does not violate Takings Clause, rather it is an exercise of
17   the police power).
18         The authority to seize property does not rest on the equitable sharing program. See
19   U.S. v. 434 Main Street, Tewksbury, Mass., 862 F. Supp. 2d 24, *32 (D. Mass. 2012).
20   The equitable sharing program gives the government discretion to share forfeited
21   property with state or local law enforcement agencies after a forfeiture has been fully
22   adjudicated, a final order of forfeiture has been entered by the Court, the government has
23   taken clear title to the property, and the local law enforcement agency has submitted a
24   Form DAG-71. Id. at *32-33. Therefore, equitable sharing is separate from a legal
25
           4
               Federal Defendants object to the O’Gorman and Bass declarations on grounds
26   of lack of foundation and hearsay. See Fed. R. Evid. 602, 603, 801, 802, 805; Bank Melli
     Iran v. Pahlavi, 58 F.3d 1406, 1412-13 (9th Cir. 1995) (a declaration of an attorney must
27   establish personal knowledge, not knowledge based on hearsay). One declarant cannot
     speculate on the other’s damages; such statements lack foundation. And neither declarant
28   may rely on hearsay. These declarations are deficient and inadmissible.
                                                 12
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1    forfeiture, and will only occur, if at all, after the Government has prevailed on its
2    forfeiture claim. Id. at *33.5 While equitable sharing may give local law enforcement an
3    incentive to cooperate with the federal government in its pursuit of civil forfeitures, the
4    movant must present facts showing that the equitable sharing program was the sole
5    factor, or even a significant factor, which motivated local law enforcement to cooperate
6    with the federal government. Id.
7          Here, Plaintiff has not provided any facts that the equitable sharing program was
8    the sole or significant factor behind the seizure of its assets. Where speculative
9    inferences are necessary to connect the injury to the government’s challenged conduct,
10   the federal court is not empowered to act to redress the injury. Id.; see also Simon v.
11   Eastern Kentucky Welfare Rights Org., 426 U.S. 26, 42-45 (1976) (no standing where it
12   was purely speculative whether injury suffered by respondents could fairly be traced to
13   government’s action).
14         Plaintiff’s assets were seized pursuant to local law enforcement officers’ probable
15   cause to believe that violations of 21 U.S.C. § 841(a)(1) and 18 U.S.C. § 1956 had
16   occurred. See Ricker Decl. ¶¶ 3-9. Plaintiff has not demonstrated a causal connection
17   supported by facts between its injury and the equitable sharing program. Therefore, those
18   claims are also unlikely to succeed.
19         B.     Plaintiff Has Failed To Establish That It Will Suffer Irreparable Harm
20                Absent The Issuance Of A TRO.
21         The Supreme Court’s “frequently reiterated standard requires plaintiffs seeking
22   preliminary relief to demonstrate that irreparable injury is likely in the absence of an
23   injunction.” Winter, 555 U.S. at 22; Los Angeles v. Lyons, 461 U.S. 95, 111 (1983) (an
24   injunction is “unavailable absent a showing of irreparable injury, a requirement that
25   cannot be met where there is no showing of any real or immediate threat that the
26
           5
             As discussed above, the administrative forfeiture proceedings commenced on
27   January 11, 2022. Even if any equitable sharing were to occur, it would only occur after
     Federal Defendants prevail on their forfeiture claim. Thus, any claim regarding equitable
28   sharing is premature.
                                                 13
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1    Petitioner will be wronged again – a ‘likelihood of substantial and immediate irreparable
2    injury.’”). “Issuing a preliminary injunction based only on a possibility of irreparable
3    harm is inconsistent with our characterization of injunctive relief as an extraordinary
4    remedy that may only be awarded upon a clear showing that the plaintiff is entitled to
5    such relief.” Winter, 555 U.S. at 22. Conclusory or speculative allegations are not
6    enough to establish a likelihood of irreparable harm. Herb Reed Enters., LLC v. Florida
7    Entm’t Mgmt., Inc., 736 F.3d 1239, 1250 (9th Cir. 2013); see also Caribbean Marine
8    Servs. Co. v. Baldrige, 844 F.2d 668, 674 (9th Cir. 1988) (“Speculative injury does not
9    constitute irreparable injury sufficient to warrant granting a preliminary injunction.”);
10   Am. Passage Media Corp. v. Cass Commc’ns, Inc., 750 F.2d 1470, 1473 (9th Cir. 1985)
11   (finding irreparable harm not established by statements that “are conclusory and without
12   sufficient support in facts”). Moreover, the threat of a likely injury must be “immediate.”
13   See Caribbean Marine Servs. Co., 844 F.2d at 674.
14         Plaintiff alleges primarily that it has suffered monetary losses, including costs
15   incurred to reimburse its clients due to the seizures. Monetary damages do not constitute
16   immediate and irreparable harm. See Monsanto Co. v. Geertson Seed Farms, 561 U.S.
17   139, 156-57 (2010) (a plaintiff seeking a preliminary injunction must demonstrate that
18   remedies available at law are inadequate to compensate for that injury). As discussed
19   earlier, Plaintiff may contest the forfeiture and request a legal remedy within the
20   administrative forfeiture proceedings. Plaintiff has failed to indicate how such a remedy
21   is inadequate to compensate for its alleged monetary damages.
22         The remainder of Plaintiff’s alleged injuries are speculative. For example, Plaintiff
23   claims that it expects to lose business opportunities and investors due to the Kansas
24   seizure and the two stops in California. O’Gorman Decl. ¶ 49 (iii). Plaintiff’s claim is
25   speculative by its own description. Plaintiff claims that it is losing rents on its facility,
26   but the building has not been disturbed; it is available for Plaintiff’s use. Id. ¶ 49 (xi).
27   Plaintiff also claims projected losses if its operations are suspended, but Plaintiff’s
28   operations have not been stopped or suspended. Id. ¶¶ 20, 49 (xiv), (xvi). Plaintiff by its
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1    own admission is re-routing its drivers and is therefore self-inflicting any alleged injury.
2    Id. ¶ 49 (x). Plaintiff’s claims of future injuries are hypothetical and based on a
3    conjectural injury that it has not suffered and may never suffer. See Clapper v. Amnesty
4    Int’l USA, 568 U.S. 398, 416 (2013) (finding standing based on fear, even one that is
5    reasonable, “improperly waters down the fundamental requirements of Article III”).
6    Further, any claim by Plaintiff of fear of future investigation or prosecution is not
7    sufficient to constitute irreparable harm. See Ramsden v. United States, 2 F.3d 322, 326
8    (9th Cir. 1993).
9             For those reasons, Plaintiff has failed to establish a likely irreparable injury to
10   occur in absence of a preliminary injunction.
11            C.    The Balance Of The Equities And The Public Interest Support Denial
12                  Of The TRO.
13            Where the government is a party to a case in which a preliminary injunction relief
14   is sought, the balance of the equities and public interest factors merge. Padilla v. ICE, et
15   al., 953 F.3d 1134, 1141 (9th Cir. 2020). “In exercising their sound discretion, courts of
16   equity should pay particular regard for the public consequences in employing the
17   extraordinary remedy of injunction.” Winter, 555 U.S. at 24 (citation and internal
18   quotation marks omitted). It is well-settled that the public has a significant interest in the
19   enforcement of criminal laws of the United States. See Video Gaming Technologies, Inc.
20   v. Bureau of Gambling Control, 356 Fed. Appx. 89, *3 (9th Cir. 2009) (preliminary
21   injunction frustrated the public’s interest in enforcement of state and local criminal
22   laws).
23            There are certain exercises of the police power “that ha[ve] repeatedly been
24   treated as legitimate even in the absence of compensation to the owners of the ...
25   property.” Acadia Tech., Inc. v. United States, 458 F.3d 1327, 1332-33 (Fed. Cir. 2006).
26   Among these are government actions taken to enforce prohibitions on the use or
27   possession of dangerous contraband, or to require the forfeiture of property used in
28   connection with criminal activity. See e.g., Bennis v. Michigan, 516 U.S. 442, 453
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1    (1996) (holding that the forfeiture of an innocent owner’s property that was used in a
2    crime was not a taking); McCutchen v. United States, 145 Fed. Cl. 42, 51 (2019), aff’d
3    on other grounds, 14 F.4th 1355 (Fed. Cir. 2021).
4          Federal investigations have been opened on suspicion of violations of 21 U.S.C. §
5    841(a)(1) and 18 U.S.C. § 1956, serious felonies involving contraband. See Ricker Decl.
6    ¶¶ 3-9. Thus, even if Plaintiff could meet the other elements to establish a TRO, they are
7    outweighed by the public interest in the ongoing criminal investigation.
8          Plaintiff has intertwined its complaints and requests for relief pertaining to the
9    California stops with its characterizations of the stops and seizures that took place in
10   Kansas in May 2021. Civil forfeiture proceedings have already commenced against
11   Plaintiff regarding those stops in U.S. District Court for the District of Kansas. Ricker
12   Decl. ¶¶ 10-12; Request for Judicial Notice filed concurrently, Ex. 2; see also supra n. 2.
13   In its request for relief to this Court, Plaintiff is essentially asking for a determination
14   regarding the constitutionality of the Kansas stops in May 2021. Plaintiff’s attempt to
15   obtain a decision from a different court bearing weight on the Kansas stops is tantamount
16   to forum shopping, and is another reason why Plaintiff’s request for a TRO in this Court
17   would not serve the public interest. See LHA Grp., Inc. v. Y’Deen/Assocs., 2013 WL
18   12121545, *3 (C.D. Cal. Dec. 27, 2013) (plaintiff’s forum shopping strongly favored the
19   denial of his request for injunctive relief).
20   VI.   CONCLUSION
21         Plaintiff has failed to meet its heavy burden to establish that it is entitled to the
22   extraordinary relief of a temporary restraining order. Federal Defendants respectfully
23   request that the Court deny Plaintiff’s application.
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                                                     16
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1    Dated: January 25, 2022             Respectfully submitted,
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